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                 EXHIBIT G
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                                                           Ira Kleiman
                                                      January 10, 2020

        1                                UNITED STATES DISTRICT                           COURT

        2                                SOUTHERN DTSTRICT                       OF FLORIDA
        3                                 CASE        NO.      9:   1-8-cv-B0l-76-BB/BR
        4
             IRA KLEIMAN, ds the personal representative
        5    of the Estate of Dawid Kleiman, and
             W&K Info Defense Research, LLC,
        6
                                 Plaintiffs,
        7
             -vs -
        8
             CRAIG WRIGHT,
        9
                                 Defendant
       l-0

       l_1   ******                  *************
       L2    VTDEOTAPED DEPOSITION                         OF IRA KI,EIMAN
       13    DATE TAKEN: ,.Tanuary 10                      ,    2O2O

       T4    TIME:      8;49 a.m. - 2:45 p.m.
       l-5   PLACE:         2525 Ponce de Leon Boulevard
       L6    Miami, Florida                   33134
       1-7
             TAKEN BEFORE: RICK E. LEVY, RPR, FPR
       t-8                 AND NOTARY PUBLIC
       L9

       20    *   *   rk *    *   *   *    *    :t *    *   *    *    *   *   *    *   *   *

       2L

       22

       23

       24

       25


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        I    BY   MR        PASCHAI,:

        z              O.        How many times       did you visit him in the
        3    hospital        e


        4              I didn't. visit him in t.he hospital . He never
                       A.
        5    asked me to
        6         O. You only visited if he asked you to visitl
        7         A. well-, when iL comes to l"ike medical issues and
        I    financial issues we just kind of refrained from
        9    discussing that kind      I don't think he ever felt
       L0    comfort.able like t.etling me about any weaknesses and I
       1_1   didn't discuss my weaknesses wit.h him either. I have
       1,2   medical conditions that he never knew about. and he
       13    didn't discuss his stuff wit.h me either'
       L4              O.        He didn'L discuss his finances with you
       15    eit,her?
       L6              A.        No.

       1,7             O.        Did he discuss his work with You?
       1B              A.        Little bit. I knew t.hat he was working in
       19    compuLer forensics.
       20                        MR.   PASCHAI-,:    I'm handing you what. werre
       2I              marking as Exhibit. 1.
       22                        MR.   FREEDMAN:          Counsel, can I get a copy?
       23                        MR.   PASCHAI,:     IL's right here.
       24                        THE WITNESS:        Thank you.
       25


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         l-              (DefendanLrs Exhibit No. 1 was
         2               marked for identif icat.ion.   )



         3     BY MR. PASCHAL:
         4          0.   You know what. this documenL is; right?
         5          A.   Yes.
         6               MR. FREEDMAN:   Ira, if you need to t,ake a
         1          minut.e to familLarrze yourself with the document go
         B          ahead and do t.haL.
         9     BY MR. PASCHAL:
       10           a.   Can you Lurn Lo Page Lwo?
       l_ l_        A.   Yes.
       1,2           O. I asked you this question before but you were
       13      unable to answer. The sevent.h paragraph Dave Kleiman
       L4      leaves out Leonard I(leiman. Do you know why?
       l_5           A. He didn't speak too much wit,h my oldest
       t6      brot,her. They just didn't, have like a close
       L7      relat.ionship. My oldesL brother he had a lot. of issues
       1B      like drug problems and yes, he      they just didn't
       L9      communicate much.
       20           O.   I want Lo turn to the first page.       Go Lo the

       21      second paragraph.
       22           A.   Okay.

       23            O. You see in this where Dave Kleiman he writes
       24      that. at t.he time of my death if I'm owneT oY co-owner of
       25      any insurance seLLlement, bank account, government bond,

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         l-    security instrumenL, indebtedness, blah, blah, blah that
         2     he is a joint owner with someone else iL doesn't pass in
         3     his wilt. Go on and read the paragraph.
         4          A. The type is a little      okaY.

         5          O. Do you know why David would put. t.hat. in his
         6     will? Did he ever discuss that with you?
         1             A.   No.

          B          O. So you alleged in your complaint that. the
          9    first time David told you about Bit,coin was during a
       1_0     Thanksgiving dinner 2009?
       t_ l_         A. Yes.
       L2            O. Who was at thaL dinner?
       l-3           A. My wife, my dad, mYself and mY six
       T4      month-year-o1d daughter         .



       15              O.   Was Dave   sitting next to you at the
       L6      Thanksgiving dinner?
       I7              A.   Across from    me.

       l-B             O.   Across from    You?

       L9              A.   (Indicatirg)   .



       20              O.   Who wassitting next t.o Dave?
       2L              A.   No one. My mom would usual]y sit on thaL
       22      side.
       23              O.   So from across t.he table Dave tells you       you

       24      ask him what is he working on; right?
       25              A.   We1l, Lhis was after dinner. My wife and my

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        1    dad were doing the dishes in the kit,chen. My daughter
        z    was tike in a car seat on the floor like 20 feet away
        3    f   rom t,he dining table we were sitting      at, and that's   when

        4    we had  the conversat.ion.
        5         O. What. was that conversation?
        6         A. r asked him I t.hink there was some news on
        '7   Facebook at the time I said why don't. you create
        B    somethi-ng like that Zuckerberg kid and he said I'm doing
        9    something bigger. Irm creating my own money.
       10         O. Did he ever use the word Bitcoin?
       t-1        A. No. I believe he said digit.al money.
       I2         O. Did he show you pictures of what the Bitcoin
       13    Iooked like?
       L4         A. AL the t.ime I didn't, know what it was. I mean
       15    it just looked like a lett.er B with some lines through
       1-6   ir.
       T7            O.      What   did the Bitcoin symbol look like?
       1B                    MR. FREEDMAN: Objection.
       t9                    MR. PASCHAL: ,Just describe    it . You can
       20            answer
       2L                    MR. FREEDMAN: Go ahead.
       22                    THE WITNESS: Do you mean     the symbol that,   he

       23            drew?
       24    BY MR.    PASCHAI.,

       25            o.      Yes.


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        l_        A.     He took out a business card and he flipped iL
        2    over and on the back of it it just to me it just looked
        3    like the letter B with a couple lines through it.
        4         O. Are you familiar with cryptocurrency?
        5                MR. FREEDMAN: Objection.
        6                THE WITNESS:      I mean I      am now.

        7    BY MR. PASCHAL:
        B          O.    When   did you first    become     familiar wit.h
        9    cryptocurrency?
       l_0        A.     Once    after Craig conLacted me.
       11          O.    When was the first time you heard about
       T2    BiLcoin?
       1_3         A.       Craig contacted me in February 2AL4.
                         When
       L4         O. So from 2009 until Davers death did you ever
       15    ask him about the digital money that he was creating?
       1,6        A. No.
       T7         a. Did you ever ask him about his reference he
       t_B   was creating his own       moneY?

       I9          A.    Excuse   me?

       20         O. Did you ever ask him about any reference to
       ZL    I'm creating my own moneY?
       zz         A. No. I mean it was such a brief conversation
       23    that I never thought of it again because if it had
       24    turned into something successful he probably would have
       25    menLioned it. Lo me but if it was a secretive project

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            1    t,hat he wasn'L supposed to mention when he would have
            z    kept it Lo himself.
            3         O. Do you think that his alleged involvement in
            4    Bitcoin was secretive?
            5         A. According to what Craig told           me.

            6         O. Do you think that?
            7              MR. FREEDMAIT: Objection.
            B              THE WITNESS:     Yes, I believe so.
            9    BY MR. PASCHAL:
       l_0            O. But he told You?
       l_   1_        A. He didn't t.ell me specif ica11y. He just told
       L2        me in a very vague way.
       l_3            O. I want to go t,hrough this really quick. You
       L4        mentioned you lcnow who Patrick Paige is, right?
       1_5            A.   Yes.
       t6             O.   You know he was very close to Dave?
       L7             A.   Yes.
       l-B            O. You do realize Dave never told him about
       L9        Bitcoin or creating digital money or anything like that?
       20                  MR. FREEDMAN: Objection.
       2t                  THE WITNESS:      I thought his testimony was thaL
       22             they did
       23                  MR. FREEDMAN:         Ira, there's no question
       24             pending.
       25                  MR. PASCHAL:     Actually there was but go ahead.

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            1                MR. FREEDMAN: I don't know            maybe you can
            2           re-ask it then. You said you do realize that Dave
            3           never told him.
            4                MR. PASCHAL: I asked and he was answering.
            5           You stopped him from answering.
            6                MR. FREEDMAN: There's no question pending.
            7           You can re-ask the quest,ion.
            B    BY MR. PASCHAL:
            9         O. The question I just asked you you do realize
       l-0       Dave never told him meaning Pat.rick Paige about Bitcoin
       1_   l-   or creating digital money or anyt,hing like that?
       t2               A.   'rUh-uh . rl
       l_3                   MR. FREEDMAN: No question Pending.
       1,4       BY MR. PASCHAI.,:
       15               O.   Right?
       I6               A.   You want me t.o answer?
       l7              O. Yes, you have to answer.
       l-B             A. I t,hought that I heard that Patrick mentioned
       19        that. they did  that Dave briefly did mention it to
       20        him.
       2t              O.    Whendid he    Patrick tell you that?
       22              A.  Eit.her it's in e-mail or I thought he
       23        testified to it..
       24             O. His testimony was you heard his testimony
       25        was that Dave never said a word to him.

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